
717 S.E.2d 563 (2011)
STATE
v.
Gregory ROBINSON, Jr.
No. 250P08-4.
Supreme Court of North Carolina.
August 25, 2011.
Gregory Robinson, Jr, Swan Quarter, for Robinson, Gregory, Jr.
*564 Daniel P. O'Brien, Assistant Attorney General, for State of NC.
C. Colon Willoughby, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 4th of May 2011 by Defendant for Notice of Appeal (Constitutional Question):
"Motion Dismissed by order of the Court in conference, this the 25th of August 2011."
